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                          Exhibit R
             Case
10/11/24, 10:37 PM 2:24-cv-00572-JRG             Document
                                                       San41-29
                                                           Diego, CA toFiled
                                                                        Federal10/28/24        Page 2 of 2 PageID #:
                                                                                Court - Google Maps
                                                             718
                                San Diego, CA to Federal Court                                       Drive 466 miles, 7 hr 9 min




                                                                              Map data ©2024 Google, INEGI   50 mi



             via I-5 N
              Fastest route, the usual traffic
                                                         7 hr 9 min
                                                            466 miles
                 This route has tolls.


             via I-15 N and I-5 N                      7 hr 26 min
                                                            481 miles




             via I-5 N and CA-152 W                    7 hr 25 min
                                                            469 miles




     Explore new places along this route
     Add suggested stops




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